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12
                                IN THE UNITED STATES DISTRICT COURT
13
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
14

15                                    SAN FRANCISCO DIVISION

16   UNITED STATES,                                     Case No.CR-21-00162-WHO
17                 Plaintiff,                           ORDER TO CONTINUE STATUS
18                                                      CONFERENCE FROM JUNE 29, 2023
     v.                                                 AT 1:30 PM TO AUGUST 10, 2023
19                                                      UNDER THE SPEEDY TRIAL ACT
     BABAK BROUMAND AND
20   MALAMATENIA MAVROMATIS,
21                 Defendants.
22

23

24                                        STIPULATION
25
            The parties hereby stipulate that the currently set status conference be continued from
26
     June 29, 2023, at 1:30 p.m. to July 27, 2023, at 1:30 p.m. Defendant BABAK BROUMAND
27
     is in custody in the Central District of California, serving a 72-month sentence, after being
28


     STIPULATION AND [PROPOSED] ORDER
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1    convicted at jury trial in United States v. Broumand, 20-224-RGK(A).                  Defendant
2
     MALAMANTENIA MAVROMATIS is not in custody.
3
              1. Defendant BABAK BROUMAND is in custody in the Central District of
4
     California after being convicted at jury trial in the related case of United States v. Broumand,
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6    20-224-RGK(A).

7             2.     Additionally, counsel for defendant MALAMANTENIA MAVROMATIS is
8
     currently engaged in a state jury trial in Marin County Superior Court, People v. Hector
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     Gramajo-Diaz, Case No.: CR209142A.
10
              3. The government has produced over 60,000 pages of discovery to defendant
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12   MAVROMATIS, which primarily consists of business records, including bank, credit card,

13   mortgage broker, title company, and escrow company records, tax returns, and witness
14
     interview reports.
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              4. On March 24, 2022, the government obtained a superseding indictment in this case
16
     adding defendant MAVROMATIS, who first appeared in this case on April 19, 2022, in
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18   which she was charged with two counts of False Statements on a Loan Application in

19   violation of 18 U.S.C. § 1014 (Counts Four and Six). Prior to defendant MAVROMATIS’s
20
     indictment, co-defendant BABAK BROUMAND had already been charged.
21
              5. Additionally, counsel for both defendants agree that additional time is needed for
22
     meaningful preparation for trial, including additional research and investigation, and
23

24   discussions with their clients and the government regarding possible pretrial resolution. The

25   parties are currently engaged in earnest pretrial resolution discussion that may obviate the need
26
     for trial.
27

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     STIPULATION AND [PROPOSED] ORDER
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1           6. The government and counsel for the defendants agree that time be excluded under
2
     the Speedy Trial Act so that defense counsels can continue to prepare for trial and engage in
3
     pretrial resolution discussions.
4
            7. The parties stipulate and agree that excluding time until July 27, 2023, will allow
5

6    for the effective preparation of counsel. See 18 U.S.C. § 3161(h)(7)(B)(iv). The parties further

7    stipulate and agree that the ends of justice served by excluding the time from June 29, 2023,
8
     through July 27, 2023, from computation under the Speedy Trial Act outweigh the best
9
     interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A), (B)(iv).
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           8. The parties are also discussing resolution of this entire matter and require more time
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12   to discuss different settlement alternatives.

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     STIPULATION AND [PROPOSED] ORDER
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1           9. The undersigned Assistant United States Attorneys certify that they have obtained
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     approval from all counsel to file this stipulation and proposed order.
3
     IT IS SO STIPULATED.
4
     DATED: June 27, 2023                                  /s/ Michael J. Morse__
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                                                          MICHAEL J. MORSE
6                                                         JUAN M. RODRIGUEZ
                                                          Special Assistant United States Attorney
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8

9    DATED: June 27, 2023                                   /s/ Steven F. Gruel___
                                                           STEVEN F. GRUEL
10                                                         Counsel for Defendant BROUMAND
11

12   DATED: June 27, 2023                                 /s/ Paul H. Nathan
                                                         PAUL H. NATHAN
13                                                       Counsel for Defendant MAVROMATIS
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                                           ORDER
16
     Based upon the facts set forth in the stipulation of the parties and for good cause shown, the
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18   Court hereby continues the status conference from June 29, 2023, at 1:30 p.m. to August 10,

19   2023, at 1:30 p.m.
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            Furthermore, the Court finds that failing to exclude the time from June 29. 2023,
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     through August 10, 2023, would unreasonably deny defense counsel and the defendant
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     the reasonable time necessary for effective preparation, taking into account the exercise of
23

24   due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

25          The Court further finds that the ends of justice served by excluding the time from
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     STIPULATION AND [PROPOSED] ORDER
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1    June 29, 2023, through August 10, 2023, from computation under the Speedy Trial Act
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     outweigh the best interests of the public and the defendants in a speedy trial. Therefore,
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     and with the consent of the parties,
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            IT IS HEREBY ORDERED that the time from June 29. 2023, through August 10,
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6    2023, shall be excluded from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)

7    (7)(A), (B)(iv).
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9
     IT IS SO ORDERED.
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                                               ------------------------------------------------
12   DATED:      June 29, 2023                  HONORABLE WILLIAM H. ORRICK
                                                United States District Court
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     STIPULATION AND [PROPOSED] ORDER
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